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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                            Case No.: 5:20cr28-MW/MJF

MARGO DEAL ANDERSON, et al.,

     Defendants.
_________________________________/
                     ORDER ON MOTIONS TO DISMISS

      Arguing that it improperly alleges multiple crimes in individual counts—i.e.,

that it’s duplicitous—Defendants Finch and Anderson move to dismiss the second

superseding indictment. ECF No. 225; ECF No. 226. The Government responds in

opposition. ECF No. 238 at 1–15. This Court finds that the second superseding

indictment’s conspiracy count is infirm. The remaining counts, however, are valid.

Thus, Defendants’ motions are GRANTED in part and DENIED in part.

                                          I

      This Court starts with the relevant background. This Court has confronted this

issue before, dismissing the first superseding indictment’s conspiracy count as

duplicitous. ECF No. 185. Because that order looms large over the current motions,

this Court begins by describing its previous order.

      The first superseding indictment alleged that Defendants participated in a

conspiracy involving these five “projects.”
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• 17th Street: Finch bribed Anderson (the mayor) and Barnes (a city

  commissioner) to support his projects with the City of Lynn Haven. In

  addition, Finch obtained one of those projects, the 17th street project, through

  a bid rigging agreement with other companies—including Company A.

• ECS: Erosion Control Specialists (ECS) bribed Michael White (the city

  manager), Anderson, and Albritton (the city attorney) and received hurricane

  cleanup and trash pickup contracts in return. ECS also submitted false

  invoices and, when those invoices were paid, paid kickbacks to Albritton.

• Debris Disposal: Unbeknownst to the City, Company A employed Albritton.

  Albritton directed city contractors to use Company A’s property to dispose of

  debris. After a meeting with Anderson, Finch, White, and the owner of

  Company A, Anderson directed companies C and D to dispose of debris at one

  of Finch’s properties. Anderson also vetoed White’s plan to designate city-

  owned property as a disposal site and secured state government support for a

  plan to use Finch’s site. At the same time, Anderson accepted things of value

  from Finch.

• WorldClaim: WorldClaim, a public adjusting firm, approached Individual A,

   a contract engineer with the City, with a proposal: help us get a contract

   assisting the City with its hurricane claims and we will give you a percentage

   of whatever we recover. Individual A, in turn, approached Anderson and

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       White, offering free services from WorldClaim. Anderson and White signed

       an agreement with WorldClaim using Anderson’s post-hurricane emergency

       powers. WorldClaim, in turn, provided them free or reduced services.

   • Rebuild: After Hurricane Michael, the City had to rebuild many of its

       facilities. Finch bribed Anderson for inside information and to exert pressure

       on city officials to aid Finch in obtaining the rebuild project at a significantly

       higher cost than the City would pay through its already-planned rebuild

       project.

See id. at 3–4.

       After a hearing, this Court held that the 17th street, debris disposal, and rebuild

projects were one conspiracy, but that the ECS and WorldClaim projects were

separate conspiracies. Id. at 5–6. Thus, this Court dismissed the conspiracy count as

duplicitous. Id. at 7.

       Responding to that ruling—among others—the Government sought, and the

grand jury returned, a 26-count second superseding indictment. The new indictment

begins by laying out essentially the same factual allegations as the previous

indictment, describing in chronological order each of the five “projects” set out

above. See ECF No. 215 ¶¶ 1–122.

       Incorporating those factual allegations, Count 1 charges both Anderson and

Finch with conspiracy to commit honest services wire fraud:

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             The manner and means of the conspiracy were that the defendant
      and conspirators used ANDERSON’s public official position as the
      Mayor of Lynn Haven . . . to offer, give, solicit, receive, agree to accept,
      and accept things of value from FINCH, which were offered and
      provided by FINCH to ANDERSON . . . with the intent that [she]
      would be influenced in the performance of official acts. ANDERSON
      agreed to accept and did accept things of value from FINCH with the
      intent that she would be influenced in the performance of official acts
      related to specific matters, to wit, FINCH’s business interests before,
      including the 17th Street project, projects under the ½ Cent Surtax
      contract, and City business for hurricane recovery, as specific
      opportunities arose.

ECF No. 215 ¶ 125.

      The remaining 25 counts charge Finch and Anderson with honest services

wire fraud (Counts 2–14, 20–24), theft or bribery concerning programs receiving

federal funds (Counts 15–17), wire fraud (Counts 18–19), and making false

statements in a matter within the executive branch of the government (Counts 25–

26). Excluding Count 26, each of the other 25 counts incorporate all 122 paragraphs

of factual allegations. Id. ¶¶ 127, 131, 133, 135, 137, 140, 143.

                                           II

      This Court first address Defendants’ main argument; namely, that Count 1 is

duplicitous because it charges multiple conspiracies in one count.

      Defendants contend that Count 1 is duplicitous because it once again charges

all five “projects” in one conspiracy count. ECF No. 225 at 2; ECF No. 226 at 7.

Specifically, Defendants argue that “the Second Superseding Indictment still lacks



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facts tying the alleged Erosion Control Services and World Claim schemes to one

another and to the [17th street, debris, and rebuild] schemes.” ECF No. 226 at 7.

       The Government replies that “[n]either Count 1 nor any other count charges

either Defendant with conspiracy related to WorldClaim or ECS. And only

Defendant Anderson is charged substantively with respect to those matters in other

segregated counts.” ECF No. 238 at 12. Put another way, the Government argues

that Count 1 only charges conspiracy as to the 17th street, debris disposal, and

rebuild projects.

       If true, that would solve the problem. But this Court cannot accept the

Government’s argument.1 Count 1 incorporates by reference at least 27 paragraphs

that deal solely with either ECS or WorldClaim. ECF No. 215 ¶ 127; id. ¶¶ 58–59,

61–63, 67–69, 77, 81, 83–89, 92–93, 97, 99–100. Initially, then, it appears that Count

1 again encompasses ECS and WorldClaim.

       Pushing back, the Government claims that paragraph 125 fixes any problem

caused by Count 1’s wholesale incorporation of all 122 paragraphs of factual

allegations. Not so. Paragraph 125 alleges that Anderson agreed to be “influenced in

the performance of official acts related to specific matters . . . including the 17th




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        In so stating, this Court fully accepts the Government’s representation that it drafted the
second superseding indictment intending to fix this issue. But intent is not enough. That said, this
Court is not elevating form over function. As explained below, the second superseding
indictment’s indeterminacy could have serious real-world consequences.
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Street project, projects under the ½ Cent Surtax contract, and City business for

hurricane recovery, as specific opportunities arose.” Id. ¶ 125 (emphasis added).

“The participle including typically indicates a partial list.” Include, Black’s Law

Dictionary (7th ed. 1999). So paragraph 125 is most naturally read as containing a

non-exhaustive list of schemes. No wonder Anderson’s lawyers “did not read and

understand Paragraph 125 to . . . limit the scope of the charged conspiracy.” ECF

No. 244 at 2.

      One might ask what other “specific matters” paragraph 125 refers to. Because

Count 1 incorporates dozens of paragraphs of factual allegations about the ECS and

WorldClaim schemes, it is most reasonably read as referring to those schemes. Thus,

this Court finds that Count 1 again groups all five “projects” together as one

conspiracy. Count 1 is thus duplicitous.

      Even assuming, alternatively, that one could also fairly read paragraph 125 as

limiting the scope of the charged conspiracy, Count 1 is still facially insufficient.

“Generally, an indictment is sufficient if it: 1) sets forth the elements of the offense

in a manner which fairly informs the defendant of the charge against which he must

defend and 2) enables him to enter a plea which will bar future prosecution for the

same offense.” Belt v. United States, 868 F.2d 1208, 1211 (11th Cir.1989) (citing

Hamling v. United States, 418 U.S. 87, 117 (1974)).




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      Count 1 falls short because it leaves the charged conspiracy’s scope

ambiguous, combining an open-ended list of matters within the conspiracy with

dozens of paragraphs of allegations unrelated to the matters specifically enumerated

on the list. Thus, Count 1 does not fairly inform Defendants of the charges against

which they must defend. For the same reason, the superseding indictment also denies

Defendants the ability to enter a plea that would bar future prosecution, as it is

unclear whether Defendants—should they enter a plea—would have pled guilty to

conspiracy as to the ECS and WorldClaim schemes.

      For these reasons, Defendants’ motions to dismiss are GRANTED as to Count

1 of the second superseding indictment.

                                          III

      Defendants also argue that “[t]he incorporation of paragraphs 1 through 22 in

each count creates . . . similar duplicity and related Fifth Amendment problems.”

ECF No. 226 at 4; ECF No. 225 at 14 n.10.

      As in the conspiracy context, “the key issue to be determined is what conduct

constitutes a single offense.” United States v. Schlei, 122 F.3d 944, 977 (11th Cir.

1997). Starting with wire fraud, “the unit of prosecution is not each individual

fraudulent statement, or even each individual scheme, but rather each individual . . .

wire transmission.” United States v. Parker, No. 1:05-CR-0045 ODE, 2006 WL

8443231, at *2 (N.D. Ga. Oct. 3, 2006), report and recommendation adopted, No.

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1:05-CR-045-ODE, 2007 WL 9734884 (N.D. Ga. Apr. 13, 2007); see also United

States v. Williams, 527 F.3d 1235, 1243 (11th Cir. 2008) (explaining that “§ 1343

punishes not the creation of a scheme to defraud, but each execution of that scheme

by use of interstate wire transmissions”). Here, each wire fraud count charges one

wire transmission. Thus, they are not duplicitous.

      Turning next to theft or bribery concerning programs receiving federal funds,

courts have found “that each payment is a separate violation.” United States v.

Langford, CR-08-CO-245-S, 2009 WL 10671369, at *7 (N.D. Ala. July 2, 2009),

report and recommendation adopted, CR-08-CO-245-S, 2009 WL 10671793 (N.D.

Ala. July 28, 2009). Counts 15 and 16 allege only that Finch corruptly provided a

motorhome to Anderson. See ECF No. 215 ¶¶ 131–34. Indeed, these counts are more

focused than Count 1. See id. ¶ 134 (alleging that Finch “did corruptly give, offer,

and agree to give a thing of value, to wit, the Motorhome”). Counts 15 and 16 are

not duplicitous.

      Finally, the false statement Counts are not duplicitous. “The unit of

prosecution under § 1001(a)(2)” is “a single false statement.” United States v.

Craigue, 19-CR-142-LM, 2020 WL 3545156, at *2 (D.N.H. June 29, 2020). Each

false statement count describes the single statement charged in great detail. ECF No.

215 ¶¶ 145a–45b, 146a–47c. Thus, the false statement counts are not duplicitous.




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                                           IV

      An indictment’s primary purpose is to “inform the defendant of the nature of

the accusation against him.” Russell v. United States, 369 U.S. 749, 767 (1962).

While the vast majority of counts fulfill that purpose, Count 1 again fails to do so.

And so this Court must again dismiss it.

      In sum,

      IT IS ORDERED:

      1. Defendants’ motions to dismiss, ECF No. 225 and ECF No. 226, are

         GRANTED in part and DENIED in part.

      2. Count 1 of the second superseding indictment is DISMISSED without

         prejudice.

      SO ORDERED on June 13, 2022.

                                                s/Mark E. Walker             ____
                                                Chief United States District Judge




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